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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                           :    CHAPTER 13
      JAMES EDWARD WHITE, III                    :    CASE NO. A18-57482-JRS
                                                 :
              DEBTOR                             :

                 NOTICE RESCHEDULING SECTION 341 MEETING
                 OF CREDITORS AND CONFIRMATION HEARING

       Notice is hereby given that the §341 Meeting of Creditors and Meeting with Trustee in
the above-referenced Chapter 13 case has been rescheduled and shall take place:


AT:           The Office of Nancy J. Whaley
              Standing Chapter 13 Trustee
              SunTrust Garden Plaza, Suite 120
              303 Peachtree Center Avenue, NE
              Atlanta, GA 30303

ON:           July 13, 2018
AT:           11:00 a.m.

       Notice is hereby given that the Confirmation Hearing in the above-referenced Chapter
13 case has been rescheduled and shall take place:

AT:           Richard B. Russell Federal Building
              75 Ted Turner Drive, S.W.
              Courtroom – 1404
              Atlanta, GA 30303

ON:           August 7, 2018
AT:           10:00 a.m.

                                          Respectfully submitted,


                                          __/s/____________________________
                                          Maria C. Joyner,
                                          Attorney for Chapter 13 Trustee
                                          GA Bar No. 118350
                                          303 Peachtree Center Ave., NE, Suite 120
                                          Atlanta, GA 30303
                                          (678) 992-1201
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                                  CERTIFICATE OF SERVICE

Case No: A18-57482-JRS

This is to certify that I have this day served the following with a copy of the foregoing Chapter
13 Trustee's Notice Rescheduling Section 341 Meeting of Creditors and Confirmation Hearing
by depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.

Debtor(s):
JAMES EDWARD WHITE, III
1168 CATALINA COURT
MARIETTA, GA 30066

             (ALL CREDITORS ARE LISTED ON THE ATTACHED PAGE)

By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Notice Rescheduling Section 341 Meeting of Creditors and Confirmation
Hearing through the Court's Electronic Case Filing system.

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com



This the 31st day of May, 2018.



/s/____________________________________
Maria C. Joyner
Attorney for the Chapter 13 Trustee
State Bar No. 118350
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
678-992-1201
Label Matrix for Case    18-57482-jrs
                  local noticing            Doc 14Amca Filed 05/31/18 Entered 05/31/18 14:17:12      Desc
                                                                                        American Express     Main
                                                                                                         National Bank
113E-1                                                 Document
                                                  2269 S Saw Mill    Page 3 of 4        c/o Becket and Lee LLP
Case 18-57482-jrs                                    Elmsford, NY 10523-3832                              PO Box 3001
Northern District of Georgia                                                                              Malvern PA 19355-0701
Atlanta
Wed May 30 13:58:20 EDT 2018
Amex                                                 (p)CAPITAL ONE                                       Cba Of Ga Inc
Po Box 297871                                        PO BOX 30285                                         64 Sailors Dr Ste 102
Fort Lauderdale, FL 33329-7871                       SALT LAKE CITY UT 84130-0285                         Ellijay, GA 30540-3744



Chase Card                                           Discover Fin Svcs Llc                                GA Dept of Revune
Po Box 15298                                         Po Box 15316                                         1800 Century Center Blvd NE
Wilmington, DE 19850-5298                            Wilmington, DE 19850-5316                            Atlanta, GA 30345-3205



Internal Revenue Service                             Midland Funding                                      Navy Federal Cr Union
PO Box 7346                                          2365 Northside Dr Ste 30                             820 Follin Lane
Philadelphia, PA 19101-7346                          San Diego, CA 92108-2709                             Vienna, VA 22180-4907



Navy Federal Cr Union                                PRA Receivables Management, LLC                      Lucretia Lashawn Scruggs
Po Box 3700                                          PO Box 41021                                         Shapiro Pendergast & Hasty
Merrifield, VA 22119-3700                            Norfolk, VA 23541-1021                               211 Perimeter Center Parkway, Suite 300
                                                                                                          Atlanta, GA 30346-1305


Howard P. Slomka                                     Syncb/lowes                                          Synchrony Bank
Slipakoff & Slomka, PC                               Po Box 965005                                        c/o PRA Receivables Management, LLC
Overlook III - Suite 1700                            Orlando, FL 32896-5005                               PO Box 41021
2859 Paces Ferry Rd, SE                                                                                   Norfolk, VA 23541-1021
Atlanta, GA 30339-6213

Thd/cbna                                             U S Dept Of Ed/Gsl/Atl                               U. S. Attorney
Po Box 6497                                          Po Box 4222                                          600 Richard B. Russell Bldg.
Sioux Falls, SD 57117-6497                           Iowa City, IA 52244                                  75 Ted Turner Drive, SW
                                                                                                          Atlanta GA 30303-3315


Nancy J. Whaley                                      James Edward White III
Nancy J. Whaley, Standing Ch. 13 Trustee             1168 Catalina Court
303 Peachtree Center Avenue                          Marietta, GA 30066-2850
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303-1216



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One
15000 Capital One Dr
Richmond, VA 23238
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Navy Federal Credit Union                         End of Label Matrix
                                                     Mailable recipients    22
                                                     Bypassed recipients     1
                                                     Total                  23
